           Case 3:10-cr-05016-H                      Document 909                 Filed 09/25/12                PageID.3495             Page 1 of 4


     'AO 245B (CASD) (Rev. 1211 t) Judgment in a Criminal Case
               Sheet 1




                                              UNITED STATES DISTRICT COU~~SEP 25 A:'! 8: 48
                                                  SOUTHERN DISTRICT OF CALIFORNIA,                   :;. "1          c,
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A-cRiMINAl.. CA~i!:L;; ;,r;"
                                        v.                                           (For Offenses Committ:d Wr After November 1, ~~~!~
                                                                                                            y
                  MARTIN FRANCISCO MORENO (6)                                        Case Number: lOCR50 16-H
                        also known as: Paco
                                                                                     Jonathan Bryant Jordan
                                                                                     Defendant's Attorney
    REGISTRATION NO. 28631-298

    o
     THE DEFENDANT:
     I?Sl pleaded guilty to count(s) I of the Second Superseding Indictment.
     o    was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _+-_________
          after a plea ofnot guilty.                                                                           I
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(sl:
                                                                                                                                            Count
     Title & Section                         Nature of Offense                                                                             Number(s)
21 USC 846, 841 (a)(l)                CONSPIRACY TO DISTRIBUTE MEHTAMPHETAMINE




        The defendant is sentenced as provided in pages 2 through                4             of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.                                                                                        I
  o The defendant has been found not guilty on count(s)                                                                       !
  o Count(s)                                                                          is   0      areD dismissed on the motion ofthe United States.
  I?Sl Assessment: $100.00.                                                                                                   t




  I?Sl Fine waived                                  0     Forfeiture pursuant to order filed                                  h included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any c. ange of name, reSidence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If oI#ered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumsttces.

                                                                               SEPTEMBER 24, 2012
                                                                              Date of Imposition of Sentence        J/       ,. [ ./

                                                                                     ()1a&"Ly, l- .~
                                                                                                            HUFF         U to

                                                                                                                                                  IOCR5016-H
       Case 3:10-cr-05016-H                     Document 909        Filed 09/25/12         PageID.3496            Page 2 of 4


AO 245B (CASD) (Rev, 12ill) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment--Page _ _
                                                                                                             2 _ of      ___4
 DEFENDANT: MARTIN FRANCISCO MORENO (6)
 CASE NUMBER: lOCR5016-H
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         120 MONTHS.



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    [8J The court makes the following reeommendations to the Bureau of Prisons:
         The Court recommends placement in the Western Region. The Court further recommends that the defendant participate in
         the RDAP program.



    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op·m.    on
               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before --------------------------------------------------------------------
        o as notified by the United States Marshal.
        o notified by Probation or Pretrial Services Office.
               as              the



                                                              RETURN
 I have executed this jUdgment as follows:

         Defendant delivered on                                                to

 at ____________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES ~RSHAL
                                                                                                         i
                                                                    By                                   ~
                                                                                       DEPUTY UNITED STA\ ES MARSHAL




                                                                                                                       lOCR5016-H
         Case 3:10-cr-05016-H                     Document 909                Filed 09/25/12                PageID.3497                  Page 3 of 4

AO 245B (CASD) (Rev. 12f1 I) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                                ludgmeat-Page          --L- of
DEFENDANT: MARTIN FRANCISCO MORENO (6)                                                                  a
CASE NUMBER: IOCR5016.H
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 YEARS.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                                        i
o The  above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
   future substance abuse. (Check, if applicable.)                                                     I
[81    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
[81    The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3.583(d).
o      The detendant shall comply with tlie requirements of the Sex Offender Registration ani:l Notification Act (42 U .S.C. § 1690 I, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release tha~ the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance willi the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. Thei defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I}     the defendant shall not leave the judicial district without the permission of the court or probation officer;
                                                                                                                          i
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court qr probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
                                                                                                                          I
                                                                                                                          I
  4)     the defendant shall support his or her dependents and meet other family responsibilities;                        I
  5}
         acceptable reasons;                                                                                             L
         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other

  6)     the defendant shall notifY the probation officer at least ten days prior to any change in residence or                    ployment;
                                                                                                                          I
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distri~ute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribedlby a physician;
  8}     the defendant shall not frequent places where controlled substances are illegally sold, used, distribut!ed, or administered;
  9}     the defendant shall not associate with any persons engaged in criminal activity and shall not associaJe with any person convicted of
         a felony, unless granted permission to do so by the probation officer;                                           1
                                                                                                                              I
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and hall permit confiscation of any
                                                                                                                              r·


         contraband observed in plain view of the probation officer;
 II}     the defendant shall notifY the probation officer within seventy-two hours of being arrested or question~d by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law ertrorcement agency without the
         permission of the court; and                                                                         I
 13}     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasiofl. ed by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such n tifications and to conftrm the
         defendant's compliance with such notification requirement.                                                  .

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            Case 3:10-cr-05016-H                    Document 909          Filed 09/25/12           PageID.3498             Page 4 of 4

       AO 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                        Judgment~page ~ of _.....;4:.-_ _
       DEFENDANT: MARTIN FRANCISCO MORENO (6)                                                      II
       CASE NUMBER: lOCR5016-H




                                            SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at Ii reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condititlm of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may ,be subject to searches pursuant to
    this condition.

D If deported, excluded. or allowed to voluntarily return to country of origin, not reenter the United States iliegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclu~ion or voluntary departure.
                                                                                                           ,
D   Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter or reside in the Republic of Mexico without written permission of the Court or probation officerj
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.             ,
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerdus drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider, as approved by the probationiofficer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.
                                                                                                                 I

D Take no medication containing a controlled substance without valid medical prescription, and provide Pro~f of prescription to the probation
    ~ff~~                                                                                                        ,I
o   Provide complete disclosure of personal and business financial records to the probation officer as requeste~.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines pf credit without approval of the
    probation officer.                                                                                            I
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of                  I
181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and!Icounseiing, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatmqnt provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based  or
                                                                                                                 the defendant's ability to pay.

181 Not associate with any known gang members nor shall he possess, wear, use or display or have in his poss~ssion any item associated with
    gang dress or any item prohibited by the probation officer, including but not limited to any insignia, emble~, badge, cap, hat, scarf,
    bandanna, or any article of clothing, hand sign or paraphernalia associated with membership or affiliation itt any gang including, but not
    limited to, the "Otay" gang.                                                                                .




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